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                                                                                                                            JOB: 11824522
                                                                                                CLIENT: Stagnaro, Saba & Patterson, Co., L.P.A.


AFFIDAVIT OF SPECIAL PROCESS SERVER

CASE: 1:21-cv-00238

COURT:      United States District Court

PLAINTIFF I PETITIONER: Philip R. McHugh

DEFENDANT I RESPONDENT: Fifth Third Bancorp, et al.



I, William Carlson [License 115-0023781, being duly sworn on oath state that I am over 18 years of age and not a party to this suit and that I
am registered employee of a Illinois Private Detective Agency "Carlson Investigations, Inc. [License 117-001360]", licensed by the Illinois
Department of Financial and Professional Regulation and therefore authorized, pursuant to the provisions of Chapter 735 ILCS, Code of Civil
Procedure, Section 5/2-202, Illinois Compiled Statutes, to serve process in the above cause.

Further, I William Carlson [License 115-002378] effected service on RHR INTERNATIONAL, LLP. in the following manner listed below.

CORPORATE SERVICE effected on Wednesday September 18, 2024, 2:29 pm By leaving a copy of the Subpoena to Produce Documents,
Information, or Objects or to Permit Inspection of Premises in a Civil Action with Dionee Anderson - Intake Specialist for CT Corporation
System [Registered Agent1 who was authorized to accept service on behalf of RHR INTERNATIONAL, LLP. Service was effected at 208 5 La
Salle St #814, Chicago, IL 60604.

Dionee Anderson is described as follows:            Female                   30's              African American
                                                    Gender                   Age                    Ethnicity



Under penalties of perjury as provided by law pursuant to section 1-109 of the Code of Civil Procedure, the undersigned certifies that the
statements are true and correct, except as to matters therein stated to be on information and belief and such matters the undersigned
certifies as aforesaid that he/she verily believes same to be true.




                                             September 19, 2024
                                             Date




[ Agency Licit 117-00       60]                     155   Shennan Ave. Suile        06 Evans!on iL 60201                                     2




                                                                                                                         Exhibit 7
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                                           EXHIBIT A

       1.      Any and all Assessments of Timothy Spence, including but not limited to,

Assessments for the position of President or Chief Executive Officer (CEO) of Fifth Third Bank

from January 1, 2016, to the present.

       2.      Any and all draft Assessments of Timothy Spence, including, but not limited to,

draft Assessments for the position of President or Chief Executive Officer (CEO) of Fifth Third

Bank from January 1, 2016, to the present.

       3.      Any and all Correspondence with Fifth Third Bank regarding Timothy Spence from

January 1, 2016, to the present.

       4.      All Documentation used or consulted in your preparation of any Assessment of

Timothy Spence from January 1, 2016, to the present.

       5.      Any and all Assessments of candidates other than Timothy Spence, including, but

not limited to, Assessments for the position of President or Chief Executive Officer (CEO) of Fifth

Third Bank from January 1, 2016, to the present.

       6.      Any and all draft Assessments of candidates other than Timothy Spence, including,

but not limited to, draft Assessments for the position of President or Chief Executive Officer (CEO)

of Fifth Third Bank from January 1, 2016, to the present.

       7.      Any and all Correspondence (defined to include hard copy, email, text messages,

any other form of written communication, and summaries of oral communication) with Fifth Third

Bank regarding the Assessment of potential candidates other than Timothy Spence, from January

1, 2016, to the present.
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       8.      All Documentation used or consulted in your preparation of an Assessment of any

candidate other than Timothy Spence, including, but not limited to, for the position of President

or Chief Executive Officer (CEO) of Fifth Third Bank from January 1, 2016, to the present.

       9.      Any and all Assessments of Philip McHugh for any position at Fifth Third Bank

from January 1, 2016, to the present.

       10.     Any and all draft Assessments of Philip McHugh for any position at Fifth Third

Bank from January 1, 2016, to the present.

       11.     Any and all Correspondence with Fifth Third Bank regarding Philip McHugh from

January 1, 2016, to the present.

       12.     All Documentation used or consulted in your preparation of an Assessment of

Philip McHugh for any position at of Fifth Third Bank from January 1, 2016, to the present.

       13.     Any Correspondence between any individual at RHR International LLP, Inc., and

any individual at Fifth Third regarding an Assessment of candidates including, but not limited to,

Assessments for the position of President or Chief Executive Officer (CEO) at Fifth Third Bank

from January 1, 2016, to the present.

       14.     Any Correspondence or Documents in any way relating to succession planning at

Fifth Third from January 1, 2016, to the present.

       15.     Any Correspondence or Documents in any way relating to executive development

at Fifth Third from January 1, 2016 to the present.



The following definitions shall apply to the above requests:
   1. “Fifth Third Bank” shall be defined to include any person or entity acting on behalf of it,
      including but not limited to employees, agents, officers, directors, managers, members,
      subsidiary or parent or sibling corporate entities, and/or other representatives
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2. “President” shall be defined to include the leader of the company’s executive group or the
   top or most senior person who presides over the business.

3. “Chief Executive Officer” or “CEO” shall be defined to include the highest-ranking officer
   or employee within the company.

4. “Documentation” shall be defined to include all written or graphic matter of every kind or
   description, however produced or reproduced, whether drafted or final, original or copy,
   signed or unsigned, and regardless of whether approved, sent, received, redrafted or
   executed, including but not limited to correspondence, letters, memorandum, summaries
   of conversations or telephone conversations, minutes or records of meetings, conferences
   or seminars, notebooks, diaries, desk calendar, contracts, agreements, preliminary and final
   reports, opinions or reports of consultants, projections, estimates, loan applications,
   financial statements, bills, invoices, receipts, loan sheets, checks, checkbooks, purchase
   orders, change orders, confirmations, facsimiles, e-mails, telegrams, telexes, computer
   disks, digital or analog recordings, tape recordings, video recordings, photographs,
   drawings, charts, and plans. The term "document" means every document as above defined
   known to you and in your possession, custody or control, or under the control of your
   agents, attorneys, officers, directors, shareholders, members, managers, employees, or
   other similar persons, and includes every such document which can be located or
   discovered by diligent effort. “Document” includes electronically stored information
   (“ESI”). Where possible, electronically stored information should be produced in its native
   form, except that electronically stored information which is only accessible through
   proprietary software that is not commonly available in office software suites should be
   produced in a readily accessible electronic form (such as PDF, Word or similar text
   document, or Excel or similar spreadsheet) or in hard copy.

5. “Assessments” shall be defined to include any “executive assessments” performed by RHR
   International, including those which make any evaluations, judgments, recommendations,
   or determinations as to a particular individual’s value, nature, character, or qualities for an
   actual or potential employment role.

6. “Correspondence” shall be defined to include any disclosure, transfer or exchange of
   information, whether oral or written, and whether in person, by telephone, mail, e-mail,
   telecopy, text message, or other “document” form, including but not limited to discussions,
   statements, negotiations, inquiries, requests, notices, responses, or demands.
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                                            EXHIBIT B

       16.     All Documents which contain, include, or otherwise refer to questions asked of

Timothy N. Spence for purposes of assessment work performed by RHR International.

       17.     All Documents which contain, include, or otherwise refer to answers provided by

Timothy N. Spence for purposes of assessment work performed by RHR International.

       18.     Any and all Assessments of Gregory D. Carmichael, including but not limited to,

Assessments for the positions of President or Chief Executive Officer (CEO) of Fifth Third Bank

from January 1, 2013 to the present.

       19.     Any and all draft Assessments of Gregory D. Carmichael, including but not limited

to, draft Assessments for the position of President of Chief Executive Officer (CEO) of Fifth Third

Bank from January 1, 2013 to the present.

       20.     Any and all Correspondence (defined to include hard copy, email, text messages,

and any other form of written communications, and summaries of oral communication) with Fifth

Third Bank regarding any Assessments for Gregory D. Carmichael from January 1, 2013 to the

present; and

       21.     All draft and final versions of the CEO Profile (i.e., the “winning formula”) created

for the assessment work to be performed on Gregory D. Carmichael;

       22.     Correspondence pertaining to the CEO Profile (i.e., the “winning formula”) created

or otherwise modified for the assessment work to be performed on Gregory D. Carmichael;

       23.     All draft and final versions of the CEO Profile (i.e., the “winning formula”) created

for the assessment work to be performed on Timothy N. Spence;

       24.     Correspondence pertaining to the CEO Profile (i.e., the “winning formula”) created

or otherwise modified for the assessment work to be performed on Timothy N. Spence;
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       25.     All Documentation which pertains or otherwise relates to materials to be presented

to Fifth Third Bank’s Board of Directors in September 2020, including but not limited to any

“Board Summaries.”

       26.     All versions, including drafts, revised drafts, and final versions, of proposals

provided to Fifth third Bank relating to executive assessment and development / CEO succession.

This includes, but is not necessarily limited to, prior versions of the June 8, 2020 “Proposal:

Executive Assessment and Development/CEO Succession – Revised” for “Fifth Third Bank.”

       27.     All invoices for services provided to Fifth Third Bank by RHR International LLP

from January 1, 2013 to the present including, but not limited to, for all assessment or development

work performed for Timothy N. Spence or Gregory D. Carmichael.

       28.     All completed surveys and Assessments with respect to Timothy N. Spence or

Gregory D. Carmichael, including Watson-Glaser, Raven’, or Hogan Insight Reports.



The following definitions shall apply to the above requests:

   1. “Fifth Third Bank” shall be defined to include any person or entity acting on behalf of it,
      including but not limited to employees, agents, officers, directors, managers, members,
      subsidiary or parent or sibling corporate entities, and/or other representatives. The terms
      includes both Fifth Third Bancorp and Fifth Third Bank, N.A., both of which are
      defendants in the matter of Philip McHugh v. Fifth Third Bancorp, et al.

   2. “President” shall be defined to include the leader of the company’s executive group or the
      top or most senior person who presides over the business, including the position previously
      held by Gregory D. Carmichael, and the position currently held by Timothy N. Spence.

   3. “Chief Executive Officer” or “CEO” shall be defined to include the highest-ranking officer
      or employee within Fifth Third Bank, including the position previously held by Gregory
      D. Carmichael, and the position currently held by Timothy N. Spence.

   4. “Documentation” shall be defined to include all written or graphic matter of every kind or
      description, however produced or reproduced, whether drafted or final, original or copy,
      signed or unsigned, and regardless of whether approved, sent, received, redrafted or
      executed, including but not limited to correspondence, letters, memorandum, summaries
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   of conversations or telephone conversations, minutes or records of meetings, conferences
   or seminars, notebooks, diaries, desk calendar, contracts, agreements, preliminary and final
   reports, opinions or reports of consultants, projections, estimates, loan applications,
   financial statements, bills, invoices, receipts, loan sheets, checks, checkbooks, purchase
   orders, change orders, confirmations, facsimiles, e-mails, telegrams, telexes, computer
   disks, digital or analog recordings, tape recordings, video recordings, photographs,
   drawings, charts, and plans. The term "document" means every document as above defined
   known to you and in your possession, custody or control, or under the control of your
   agents, attorneys, officers, directors, shareholders, members, managers, employees, or
   other similar persons, and includes every such document which can be located or
   discovered by diligent effort. “Document” includes electronically stored information
   (“ESI”). Where possible, electronically stored information should be produced in its native
   form, except that electronically stored information which is only accessible through
   proprietary software that is not commonly available in office software suites should be
   produced in a readily accessible electronic form (such as PDF, Word or similar text
   document, or Excel or similar spreadsheet) or in hard copy.

5. “Assessment” shall be defined to include any “executive assessments” performed by RHR
   International, including those which make any evaluations, judgments, recommendations,
   or determinations as to a particular individual’s value, nature, character, or qualities for an
   actual or potential employment role. This includes but is not necessarily limited to the
   “Executive Assessment Development Report” created for Timothy N. Spence.

6. “Correspondence” shall be defined to include any disclosure, transfer or exchange of
   information, whether oral or written, and whether in person, by telephone, mail, e-mail,
   telecopy, text message, or other “document” form, including but not limited to discussions,
   statements, negotiations, inquiries, requests, notices, responses, or demands.
